            Case 2:10-cr-00047-MJP          Document 36       Filed 03/18/10     Page 1 of 2




 1                                                                              Judge Marsha J. Pechman
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 7                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9   UNITED STATES OF AMERICA,           )
                                         )
10                           Plaintiff,  )               Cause No. CR10-0047MJP
                                         )
11         v.                            )
                                         )               Order Granting Motion to Continue
12   SHANE GRANT,                        )               Pretrial Motions Due Date
                                         )
13                           Defendant.  )
     ____________________________________)
14
            This matter having come on before the undersigned Judge on Defendant’s Motion to Continue
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     Pretrial Motions Due Date and the Court having considered the request and all other matters of record
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     and being fully advised in the premises,
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            The Court hereby finds that the ends of justice will be served by granting the requested
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     continuance,
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            NOW, THEREFORE, IT IS HEREBY ORDERED THAT the motion to continue the Pretrial
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     motions due date is granted and the new due date shall be April 8, 2010.
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27                                                                                        Mair & Camiel, P.S.
                                                                                                  710 Cherry Street
     Order Continuing Pre-Trial Motions Due Date - 1                                    Seattle, Washington 98104
28   (PROPOSED)                                                                     (206) 624-1551 Fax: 623-5951
            Case 2:10-cr-00047-MJP       Document 36      Filed 03/18/10     Page 2 of 2




 1          DATED this 18th day of March, 2010.
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                                              A
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                                              Marsha J. Pechman
 6
                                              United States District Judge
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 9   Presented by:

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     Peter A. Camiel, WSBA #12596
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     Attorney for Shane Grant
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27                                                                                   Mair & Camiel, P.S.
                                                                                             710 Cherry Street
     Order Continuing Pre-Trial Motions Due Date - 2                               Seattle, Washington 98104
28   (PROPOSED)                                                                (206) 624-1551 Fax: 623-5951
